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                                                            #:8392
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    FPD        Appointed        CJA        Pro Per      Retained

                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
Alex Villanueva                                                         CASE NUMBER:

                                                                                                2:24-cv-04979-SVW-JC
                                                     PLAINTIFF(S),
                                  v.
County of Los Angeles, et al
                                                                                          NOTICE OF APPEAL
                                                 DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                                          Alex Villanueva                             hereby appeals to
                                                                   Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                        Civil Matter
     Conviction only [F.R.Cr.P. 32(j)(1)(A)]                               Order (specify):
     Conviction and Sentence                                                Order Granting Summary Judgment
     Sentence Only (18 U.S.C. 3742)
     Pursuant to F.R.Cr.P. 32(j)(2)                                        Judgment (specify):
     Interlocutory Appeals                                                  Judgment Entered Following MSJ
     Sentence imposed:
                                                                           Other (specify):

     Bail status:



Imposed or Filed on                5-15-2025            . Entered on the docket in this action on 135                                        .

A copy of said judgment or order is attached hereto.


5/27/2025
Date                                                    Signature
                                                          Appellant/ProSe              Counsel for Appellant              Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                 NOTICE OF APPEAL
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                          UNITED STATES DISTRICT COURT
 FOR THE DISTRICT OF Central District of California
              Form 1. Notice of Appeal from a Judgment or Order of a
                            United States District Court

 U.S. District Court case number:               2:24-cv-04979-SVW-JC
       Notice is hereby given that the appellant(s) listed below hereby appeal(s) to
 the United States Court of Appeals for the Ninth Circuit.

 Date case was first filed in U.S. District Court: June 13, 2024

 Date of judgment or order you are appealing:                     May 15, 2025

 Docket entry number of judgment or order you are appealing:                              135
 Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
    Yes         No           IFP was granted by U.S. District Court
 List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
   Plaintiff Alex Villanueva




 Is this a cross-appeal?          Yes            No
 If yes, what is the first appeal case number?
 Was there a previous appeal in this case?                    Yes            No
 If yes, what is the prior appeal case number?
 Your mailing address (if pro se):




 City:                                         State:                  Zip Code:

 Prisoner Inmate or A Number (if applicable):

 Signature                                                               Date
      Complete and file with the attached representation statement in the U.S. District Court
                     Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

 Form 1                                                                                          Rev. 06/09/2022
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                      UNITED STATES COURT OF APPEALS
                           FOR THE NINTH CIRCUIT
                         Form 6. Representation Statement
      Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
 Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
 Name(s) of party/parties:
 Plaintiff Alex Villanueva


 Name(s) of counsel (if any):
 Carney Shegerian, Esq.
 Mahru Madjidi, Esq.
 Alex DiBona, Esq.
 Address: 320 North Larchmont Boulevard Los Angeles California 90004
 Telephone number(s): 310-860-0770
 Email(s): Cshegerian@shegerianlaw.com; ADiBona@shegerianlaw.com
 Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes        No

 Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
 separately represented parties separately.)
 Name(s) of party/parties:
 County of Los Angeles, County of Los Angeles Sheriffs Department, Los Angeles
 County Board of Supervisors, County Equity Oversight Panel, Los Angeles
 County Office of Inspector General, Constance Komoroski, [continued]
 Name(s) of counsel (if any):
 Steven Williamson, Jason Tokoro



 Address: 2121 Avenue of the Stars, 26th Floor Los Angeles, CA 90067
 Telephone number(s): 310-552-4400
 Email(s): swilliamson@millerbarondess.com jtokoro@millerbarondess.com


 To list additional parties and/or counsel, use next page.
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

 Form 6                                                1                                        New 12/01/2018
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 Continued list of parties and counsel: (attach additional pages as necessary)
 Appellants
 Name(s) of party/parties:



 Name(s) of counsel (if any):



 Address:
 Telephone number(s):
 Email(s):
 Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
 Appellees
 Name(s) of party/parties:
 Roberta Yang, Laura Lecrivain, Robert G Luna, Max Huntsman, Esther Lim

 Name(s) of counsel (if any):
 Steven Williamson, Jason Tokoro

 Address: 2121 Avenue of the Stars, 26th Floor Los Angeles, CA 90067
 Telephone number(s): 310-552-4400
 Email(s): swilliamson@millerbarondess.com jtokoro@millerbarondess.com
 Name(s) of party/parties:



 Name(s) of counsel (if any):



 Address:
 Telephone number(s):
 Email(s):
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

 Form 6                                               2                                         New 12/01/2018
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